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 9   Attorneys for Plaintiffs
10               THE UNITED STATES DISTRICT COURT
11        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

12   KARLA URIBE, individually and      )   Case No.:
13   on behalf of all those similarly   )
     situated,                          )   CLASS ACTION
14                                      )
15                      Plaintiff,      )   COMPLAINT FOR DAMAGES
             vs.                        )
16                                      )   1. Violations of the Telephone
17   SONGWHALE LLC, a Minnesota         )      Consumer Protection Act, 47 U.S.C.
     Limited Liability Company; and     )      §§ 227, et seq.; and
18   DOES 1-10, inclusive,              )   2. Knowing and/or Willful Violations of
19                                      )      the Telephone Consumer Protection
                       Defendants.             Act, 47 U.S.C. §§ 227, et seq.
20                                      )
21                                      ) DEMAND FOR JURY TRIAL
                                        )
22                                      )
23                                      )
                                        )
24                                      )
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28
              CLASS ACTION COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1          Plaintiff Karla Uribe (“Plaintiff”), individually and on behalf of all others
 2   similarly situated, alleges the following upon information and belief based upon
 3   personal knowledge:
 4   I.     NATURE OF THE ACTION
 5          1.      Plaintiff, on behalf of herself and others similarly situated, is seeking
 6   damages and any other available legal or equitable remedies resulting from the
 7   illegal actions of defendants Songwhale, LLC (“Songwhale” or “Defendant”) and
 8   Does 1-10, inclusive (collectively, “Defendants”) in contacting Plaintiff, as well
 9   as knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular
10   telephone in violation of the Telephone Consumer Protection Act (“TCPA”), 47
11   U.S.C. §§ 227, et seq., thereby invading Plaintiff’s and putative class members’
12   right to privacy.
13    II.   VENUE AND JURISDICTION
14          2.      This Court has jurisdiction over the subject matter of this action
15   under 28 U.S.C. § 1331 because this action arises under the TCPA, 47 U.SC. §§
16   227, et seq.
17          3.      Jurisdiction is also proper under 28 U.S.C. § 1332(d) because
18   Plaintiff seeks relief on behalf of a nationwide class, which will result in at least
19   one class member belonging to a different state that that of Songwhale, which is
20   incorporated and maintains its principal place of business in Minnesota. Plaintiff
21   also seeks up to $1,500.00 in damages for each text message in violation of the
22   TCPA, which, when aggregated among a proposed class in the thousands,
23   exceeds the $5,000,000.00 threshold for federal court jurisdiction. Therefore,
24   both federal question jurisdiction and diversity jurisdiction and the damages
25   threshold under the Class Action Fairness Act of 2005 (“CAFA”) are present, and
26   this Court has jurisdiction.
27          4.      Venue is proper in this District because all or a substantial portion of
28   the events forming the basis of this action occurred in this District pursuant to 28
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 1   U.S.C. § 1397(b)(2) as Defendants’ specifically targeted Los Angeles County,
 2   California consumers such as Plaintiff, by sending unsolicited text messages to
 3   phone numbers with an (818) area code.
 4   III.   PARTIES
 5          5.      Plaintiff is a natural person residing in California.
 6          6.      Songwhale is, and at all relevant times was, a Minnesota Limited
 7   Liability Company with its principal place of business at 2186 Mailand Road E,
 8   St. Paul, Minnesota, 55119.
 9          7.      Upon information and belief, Plaintiff conducts marketing activities,
10   including sending text messages, such as the messages sent to Plaintiff in
11   violation of the TCPA.
12          8.      The above-named Defendant, and its subsidiaries and owners,
13   officers, and agents, are collectively referred to as “Defendants.” The true names
14   and capacities of the defendants sued herein as “Does 1-10,” inclusive, are
15   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
16   names. Each of the Defendants designated herein as a Doe is legally responsible
17   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
18   the Complaint to reflect the true names and capacities of the Doe Defendants
19   when such identities become known.
20          9.      Upon information and belief, at all relevant times, each and every
21   Defendant was acting as an agent and/or employee of each of the other
22   Defendants and was the owner, agent, ostensible agent, servant, joint venturer
23   and employee, each of the other and each was acting within the course and scope
24   of its ownership, agency, service, joint venture, and employment with the full
25   knowledge and consent of each of the other Defendants.
26          10.     Upon information and belief, each of the acts and/or omissions
27   complained of herein was made known to, and ratified by, each of the other
28   Defendants.
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 1         11.     At all times mentioned herein, each and every Defendant was the
 2   successor of the other and each assumes the responsibility for each other’s acts
 3   and omissions.
 4   IV.   THE TELEPHONE CONSUMER PROTECTION ACT
 5         12.     Congress enacted the TCPA in 1991 to address certain practices
 6   thought to be an invasion of consumer privacy and a risk to public safety. The
 7   TCPA and the Federal Communications Commission’s (“FCC”) implemented
 8   rules prohibit: (1) making telemarketing calls using an artificial or prerecorded
 9   voice to residential telephones without prior express consent; and (2) making any
10   non-emergency call using an automatic telephone dialing system (“ATDS”) or an
11   artificial or prerecorded voice to a wireless telephone number without prior
12   express consent. If the call includes or introduces an advertisement, or constitutes
13   telemarketing, consent must be in writing. Calls that include non-marketing
14   messages require consent, but not written consent. The TCPA grants consumers a
15   private right of action, with a provision for $500 or the actual monetary loss in
16   damages for each violation, whichever is greater, and treble damages for each
17   willful or knowing violation, as well as injunctive relief.
18         13.     Since the TCPA’s passage in 1991, the FCC has taken multiple
19   actions implementing and interpreting the TCPA, and has issued numerous
20   Declaratory Rulings clarifying specific aspects of the TCPA. The most recent,
21   FCC Omnibus Order of July 10, 2015, (the “Order”) provided further protection
22   to consumers by, among other things, clarifying that ATDS is broadly defined,
23   confirming liability attaches to calls made to the wrong number or reassigned
24   number, and clarifying consumers may revoke consent through reasonable
25   methods. In the Matter of Rules and Regulations Implementing the Tel. Consumer
26   Prot. Act of 1991, FCC 15–72, 30 F.C.C.R. 7961 (July 10, 2015), available at
27   https://www.fcc.gov/document/tcpa-omnibus-declaratory-ruling-and-order. The
28   Order defines an “autodialer” as equipment/software that has the future capacity
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 1   to dial randomly or sequentially. “In other words, the capacity of an autodialer is
 2   not limited to its current configuration but also includes its potential
 3   functionalities.” The Order clarifies the meaning of “capacity” and that “any call”
 4   made using a device with the capacity to serve as an ATDS requires consent
 5   under the TCPA, even if the caller is not “actually…using those functionalities to
 6   place calls” at the time. Derby v. AOL, Inc., No. 5:15-CV-00452-RMW, 2015 WL
 7   5316403, at *3 (N.D. Cal. Sept. 11, 2015).
 8          14.     The Order also states that calls placed to the wrong number or a
 9   reassigned number are made with knowledge of the error after the first call; and
10   consumers may revoke consent through any reasonable method, including orally:
11   “[w]e clarify, however, that callers who make calls without knowledge of
12   reassignment and with a reasonable basis to believe that they have valid consent
13   to make the call should be able to initiate one call after reassignment as an
14   additional opportunity to gain actual or constructive knowledge of the
15   reassignment and cease future calls to the new subscriber. If this one additional
16   call does not yield actual knowledge of reassignment, we deem the caller to have
17   constructive knowledge of such;” “[c]onsumers generally may revoke, for
18   example, by way of a consumer-initiated call, directly in response to a call
19   initiated or made by a caller, or at an in-store bill payment location, among other
20   possibilities.”
21          15.     Furthermore, the TCPA established the National Do-Not-Call List,
22   and also mandates all businesses that place calls for marketing purposes maintain
23   an “internal” do-not-call list (“IDNC”). See 47 C.F.R. § 64.1200(d). The IDNC is
24   “a list of persons who request not to receive telemarketing calls made by or on
25   behalf of that [seller].” Id. The TCPA prohibits a company from calling
26   individuals on its IDNC list or on the IDNC list of a seller on whose behalf the
27   telemarketer calls, even if those individuals’ phone numbers are not on the
28   National Do-Not-Call Registry. Id. at § 64.1200(d)(3), (6). Any company, or
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 1   someone on the company’s behalf, who calls a member of the company’s IDNC is
 2   liable to that person under the TCPA. The called party is then entitled to bring a
 3   private action under the TCPA for monetary and injunctive relief.
 4         16.     Accordingly, the entity can be liable under the TCPA for a call made
 5   and/or message sent on its behalf, even if the entity did not directly place the call.
 6   Under those circumstances, the entity is deemed to have initiated the call through
 7   the person or entity.
 8   V.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
 9                              (AGAINST ALL DEFENDANTS)
10         A.      FACTUAL ALLEGATIONS
11         17.     Beginning in or around May 2020, Defendants contacted Plaintiff on
12   her cellular telephone at (818) 770-****, in an attempt to solicit people to join
13   the U.S. Army Reserve. The messages came from a five digit SMS short code
14   number. Defendants are known to use the number 942-53.
15         18.     After Plaintiff responded with “Please stop,” she received a message
16   telling her that she had “been added to the receive list” and to “Rply STOP 2quit
17   [sic] or HELP.” Plaintiff complied and texted STOP.
18         19.     Despite Plaintiff’s attempt(s) to opt out of these messages,
19   Defendants proceeded to continue sending similar messages to Plaintiff.
20         20.     Defendants used an “automated telephone dialing system,” as
21   defined by 47 U.S.C. § 227(a)(1) to send text messages to Plaintiff.
22         21.     Plaintiff is informed and believes that the equipment used by
23   Defendants to send the subject messages to Plaintiff has the capacity to: (1) store
24   or produce numbers to be contacted using a random or sequential number
25   generator; and (2) dial those numbers. Such capacity is evidenced by the fact that
26   the subject messages appear scripted and generic.
27         22.     Defendants’ message(s) were not for emergency purposes as defined
28   by 47 U.S.C. § 227(b)(1)(A).
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 1         23.     Defendants’ message(s) were sent to telephone numbers assigned to
 2   a cellular telephone service for which Plaintiff incurs a charge for incoming
 3   messages and/or data use pursuant to 47 U.S.C. § 227(b)(1).
 4         24.     Defendants never received Plaintiff’s “prior express consent” to
 5   receive marketing messages using an automated dialing system on her cellular
 6   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 7         B.      CLASS ALLEGATIONS
 8         25.     Plaintiff brings this action pursuant to Federal Rule of Civil
 9   Procedure 23 and/or other applicable law, on behalf of herself and all others
10   similarly situated, as a member of the proposed class (hereafter "the Class")
11   defined as follows:
12                 All persons within the United States who received any
13                 text messages from Defendants to said person’s cellular
14                 telephone made through the use of any automatic
15                 telephone dialing system when such person had not
16                 previously provided express consent to receiving such
17                 messages within the four years prior to the filing of this
18                 Complaint
19         26.     Plaintiff represents, and is a member of the Class, consisting of All
20   persons within the United States who received any telephone call from
21   Defendants to said person’s cellular telephone made through the use of any
22   automatic telephone dialing system or an artificial or prerecorded voice and such
23   person had not previously not provided their cellular telephone number to
24   Defendants within the four years prior to the filing of this Complaint.
25         27.     Excluded from the Class are governmental entities, Defendants, any
26   entity in which Defendants have a controlling interest, and Defendants’ officers,
27   directors, affiliates, legal representatives, employees, co-conspirators, successors,
28   subsidiaries, and assigns. Also excluded from the Class are any judges, justices
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 1   or judicial officers presiding over this matter and the members of their immediate
 2   families and judicial staff.
 3         28.     This action is properly maintainable as a class action. This action
 4   satisfies the numerosity, typicality, adequacy, predominance and superiority
 5   requirements for a class action.
 6         29.     Numerosity: The proposed Class is so numerous that individual
 7   joinder of all members is impracticable. Due to the nature of the trade and
 8   commerce involved, Plaintiff does not know the number of members in the Class,
 9   but believes the Class members number in the thousands, if not more. Plaintiff
10   alleges that the Class may be ascertained by the records maintained by
11   Defendants.
12         30.     Plaintiff and members of the Class were harmed by the acts of
13   Defendants in at least the following ways: Defendants illegally contacted
14   Plaintiff and Class members via their cellular telephones thereby causing Plaintiff
15   and Class members, without their “ prior express consent,” to incur certain
16   charges or reduced telephone time for which Plaintiff and Class members had
17   previously paid by having to retrieve or administer messages left by Defendants,
18   and invading the privacy of said Plaintiff and Class members.
19         31.     Common Questions of Law and Fact Predominate: There are
20   only a few legal and factual issues to determine if there is liability under the
21   TCPA and for each of those questions of law and fact, common issues to the
22   Class predominate over any questions that may affect individual Class members,
23   in that the claims of all Class members for each of the claims herein can be
24   established with common proof. Common questions of fact and law include, but
25   are not limited to, the following:
26                 a.    Whether, within the four years prior to the filing of this
27                       Complaint, Defendants made any calls or messages (other
28                       than a call or message made for emergency purposes or made
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 1                       with the prior express consent of the called party) to a Class
 2                       member using any automated dialing system or an artificial or
 3                       prerecorded voice to any telephone number assigned to a
 4                       cellular telephone service;
 5                 b.    Whether Plaintiff and the Class members were damaged
 6                       thereby, and the extent of the statutory damages for each such
 7                       violation; and
 8                 c.    Whether the Defendants should be enjoined from engaging in
 9                       such conduct in the future.
10         32.     Typicality: Plaintiff’s claims are typical of the claims of members
11   of the Class, as Plaintiff was subject to the same common course of conduct by
12   Defendants as all Class members. The injuries to each member of the Class were
13   caused directly by Defendants’ wrongful conduct as alleged herein.
14         33.     Adequacy of Representation: Plaintiff will fairly and adequately
15   represent and protect the interests of the Class. Plaintiff has retained counsel with
16   substantial experience in handling complex class action litigation. Plaintiff and
17   her counsel are committed to prosecuting this action vigorously on behalf of the
18   Class and have financial resources to do so.
19         34.     Superiority of Class Action: A class action is superior to other
20   available methods for the fair and efficient adjudication of the present
21   controversy. Class members have little interest in individually controlling the
22   prosecution of separate actions because the individual damage claims of each
23   Class member are not substantial enough to warrant individual filings. In sum,
24   for many, if not most, Class members, a class action is the only feasible
25   mechanism that will allow them an opportunity for legal redress and justice.
26   Plaintiff is unaware of any litigation concerning the present controversy already
27   commenced by members of the Class. The conduct of this action as a class action
28   in this forum, with respect to some or all of the issues presented herein, presents
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  1   fewer management difficulties, conserves the resources of the parties and of the
  2   court system, and protects the rights of each Class member.
  3          35.     Moreover, individualized litigation would also present the potential
  4   for varying, inconsistent, or incompatible standards of conduct for Defendants,
  5   and would magnify the delay and expense to all parties and to the court system
  6   resulting from multiple trials of the same factual issues. The adjudication of
  7   individual Class members’ claims would also, as a practical matter, be dispositive
  8   of the interests of other members not parties to the adjudication, and could
  9   substantially impair or impede the ability of other Class members to protect their
 10   interests.
 11          36.     Plaintiff and the members of the Class have suffered and will
 12   continue to suffer harm as a result of Defendant(s)’ unlawful and wrongful
 13   conduct. Defendant(s) have acted, or refused to act, in respects generally
 14   applicable to the Class, thereby making appropriate final and injunctive relief
 15   with regard to the members of the Class as a whole.
 16    VI.    CAUSES OF ACTION
 17                              FIRST CAUSE OF ACTION
 18            VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
 19                                 47 U.S.C. §§ 227, ET SEQ.
 20    (By Plaintiff Individually and on Behalf of the Class Against All Defendants)
 21          37.     Plaintiff hereby incorporates by reference and re-alleges each and
 22   every allegation set forth in each and every preceding paragraph as though fully
 23   set forth herein.
 24          38.     The foregoing acts and omissions of Defendants constitute
 25   numerous and multiple violations of the TCPA, including but not limited to, each
 26   and every one of the above-cited provisions of 47 U.S.C. §§ 227, et seq.
 27   ///
 28   ///
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  1           39.     As a result of Defendants’ violations of 47 U.S.C. §§ 227, et seq.,
  2   Plaintiff and the Class Members are entitle to award of $500.00 in statutory
  3   damages, for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B).
  4           40.     Plaintiff and the Class Members are also entitled to and seek
  5   injunctive relief prohibiting such conduct in the future.
  6                              SECOND CAUSE OF ACTION
  7         KNOWING AND/OR WILLFUL VIOLATION OF THE TELEPHONE CONSUMER
  8                         PROTECTION ACT, 47 U.S.C. §§ 227, ET SEQ.
  9    (By Plaintiff Individually and on Behalf of the Class Against All Defendants)
 10           41.     Plaintiff hereby incorporates by reference and re-alleges each and
 11   every allegation set forth in each and every preceding paragraph as though fully
 12   set forth herein.
 13           42.     The foregoing acts and omissions of Defendants constitute
 14   numerous and multiple knowing and/or willful violations of the TCPA, including
 15   but not limited to, each and every one of the above-cited provisions of 47 U.S.C.
 16   §§ 227, et seq.
 17           43.     As a result of Defendants’ violations of 47 U.S.C. §§ 227, et seq.,
 18   Plaintiff and the Class Members are entitle to award of $1,500.00 in statutory
 19   damages, for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and
 20   47 U.S.C. § 227(b)(3)(C).
 21           44.     Plaintiff and the Class Members are also entitled to and seek
 22   injunctive relief prohibiting such conduct in the future.
 23                                  PRAYER FOR RELIEF
 24           WHEREFORE, Plaintiff requests of this Court the following relief:
 25           a.      An order certifying this action as a class action and opposing
 26                   Plaintiff and her counsel to represent the Class;
 27   ///
 28   ///
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  1         b.     For the first cause of action:
  2                •     Plaintiff and Class Members are entitled to an request $500.00
  3                      in statutory damages, for each and every violation pursuant to
  4                      47 U.S.C. §§ 227, et seq.;
  5                •     Preliminary and permanent injunctive relief enjoining
  6                      Defendants, their owners, officers, agents, servants, and
  7                      employees, and all persons acting in concert with them, from
  8                      engaging in, and continuing to engage in, the unlawful text
  9                      messages sent by automatic dialing systems to cellular phones
 10                      without prior express consent;
 11                •     Attorneys’ fees, prejudgment interest, post-judgment interest,
 12                      and any and all other relief that the Court deems just and
 13                      proper.
 14         c.     For the second cause of action:
 15                •     Plaintiff and Class Members are entitled to an request
 16                      $1,500.00 in statutory damages, for each and every violation
 17                      pursuant to 47 U.S.C. §§ 227, et seq.;
 18                •     Preliminary and permanent injunctive relief enjoining
 19                      Defendants, their owners, officers, agents, servants, and
 20                      employees, and all persons acting in concert with them, from
 21                      engaging in, and continuing to engage in, the unlawful text
 22                      messages sent by automatic dialing systems to cellular phones
 23                      without prior express consent;
 24   ///
 25   ///
 26   ///
 27   ///
 28   ///
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  1               •     Attorneys’ fees, prejudgment interest, post-judgment interest,
  2                     and any and all other relief that the Court deems just and
  3                     proper.
  4
  5   Dated: May 12, 2020                           KRISTENSEN LLP
  6
                                                    /s/ John P. Kristensen
  7                                                 John P. Kristensen
                                                    Jesenia A. Martinez
  8
                                                    Jacob J. Ventura
  9                                                 Attorneys for Plaintiff
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiff hereby demands a trial by jury for all such triable claims.
  3
      Dated: May 12, 2020                              KRISTENSEN LLP
  4
  5                                                    /s/ John P. Kristensen
                                                       John P. Kristensen
  6                                                    Jesenia A. Martinez
  7                                                    Jacob J. Ventura
                                                       Attorneys for Plaintiff
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